UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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SIK GAEK, INC.,
                                   Plaintiff,
                  -v-                                           MEMORANDUM ORDER

YOGI’S II, INC., and DANIEL KIM,                                CV-10-4077 (ARR)(VVP)

                                   Defendants.
------------------------------------------------------------x
POHORELSKY, Magistrate Judge:

        The plaintiff and the defendant Daniel Kim have each made motions addressing

discovery disputes that have arisen which the court addresses below.

The Defendant’s Motion to Compel [DE 108]

        The defendant seeks three items of relief: (1) an order compelling the plaintiff to

produce documents that the plaintiff contends were previously produced; (2) an order

compelling the plaintiff to produce documents responsive to Document Request No. 12 in

the Kim’s First Demands for Discovery as well as various other documents to which

objections have been lodged; and (3) an order granting him leave to serve additional

interrogatories.

        As to the documents responsive to Document Request No. 12, the plaintiff asserted

that they were attached to the responses he served, but they apparently were not. The

plaintiff does not dispute the defendant’s assertion in that regard. The plaintiff is therefore

directed to forward to the defendant the documents responsive to Document Request No.

12 forthwith.

        As to the other documents to which objections were lodged, the plaintiff’s responses

suggest that notwithstanding the objections that were lodged, to the extent that the plaintiff
possesses documents responsive to the requests they have already been produced. The court

cannot compel a party to produce documents over which it does not have possession,

custody or control. The defendant may explore the veracity of those assertions at a

deposition, but the court has no basis to issue a compulsion order on the present record. To

the extent that the plaintiff asserts that the documents were previously produced, the

defendant’s counsel (who was only recently substituted as counsel) is entitled to inspect and

copy the documents. The plaintiff’s counsel must make them available for that purpose

promptly at a mutually convenient time.

       Finally, as to the interrogatories served by the defendant, the objections on the

grounds of numerosity are sustained in part. Upon review of the interrogatories, the court

considers each lettered subpart to be a separate interrogatory. Accordingly, the plaintiff’s

objections on grounds of numerosity are sustained as to all interrogatories 3(f)-3(m), and 4 -

10. As to interrogatories 2(d) -2(j) and 3(a) - 3(e), the plaintiff shall serve responses within 20

days. As to the objections raised in the responses the plaintiff has made to date, the

objections on the ground that the interrogatory “seeks information regarding transaction

involving third parties,” “is without knowledge, information or belief,” and that “defendant

has had a fair opportunity to depose Chul Ho Park” are overruled. The plaintiff is a

corporation, and as such has an obligation to conduct reasonable inquiry of persons

employed by or otherwise affiliated with the corporation, whether now or in the past, in

order to determine facts responsive to matters involving the corporation. Accordingly, the




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plaintiff is required to conduct such reasonable inquiry and provide supplemental responses

to the above interrogatories within 20 days.

       The defendant’s request for leave to serve further interrogatories is denied.

The Plaintiff’s Motion to Compel [DE 109]

       At the outset, as the defendant has pointed out, the plaintiff’s motion is untimely,

although by only one day. The plaintiff offers no explanation or excuse for the failure to

meet the court’s deadline. In the absence of an application for excusing that failure,

supported by good cause, the court declines to entertain the motion.

The Defendant’s Motion for A Protective Order [DE 112]

       This motion is untimely as well. Although the defendant’s counsel asserts that

chambers “directed” him to file the motion, that is incorrect. Chambers staff simply advised

counsel that a motion could be made, but made no direction to that effect and offered no

suggestion as to its possible outcome. A motion for a protective order on the eve of the date

of a deposition provides no opportunity for a proper response or for judicial consideration

and is therefore untimely.

       Even if the motion had been made timely, it would have been denied. The defendant

himself proposed the situs of the deposition at the Brooklyn courthouse, and the plaintiff

accommodated that request. The defendant cannot now insist that the deposition be held at

the offices of his counsel. The plaintiff now asks that the defendant be directed to appear at

their counsel’s offices in New Jersey. The court declines to enter that order. Rather, the

deposition is to be held at the Brooklyn courthouse, unless the parties agree otherwise in



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writing at least seven days in advance of the rescheduled deposition date. Finally, as the

plaintiff has unnecessarily incurred fees and expenses in connection with the defendant’s

failure to appear, the plaintiff may file a statement of those fees and expenses within seven

days. The defendant may thereafter seek to demonstrate why both the defendant and his

counsel should not jointly be required to reimburse the plaintiff for those fees and expenses

pursuant to Rule 37.

         For the foregoing reasons,

         1.      The Defendant’s Motion to Compel [DE 108] is granted in part and denied in

                 part;

         2.      The Plaintiff’s Motion to Compel [DE 109] is denied without prejudice; and

         3.      The Defendant’s Motion for A Protective Order [DE 112] is denied.

                                                     SO ORDERED:
                                                     Viktor V. Pohorelsky
                                                     VIKTOR V. POHORELSKY
                                                     United States Magistrate Judge
Dated:        Brooklyn, New York
              September 27, 2013




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